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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 1:16-cv-24431-Altonaga/McAliley


  GOLTV, INC. and GLOBAL SPORTS
  PARTNERS LLP,

                               Plaintiffs,

                     v.

  FOX SPORTS LATIN AMERICA, LTD., PAN
  AMERICAN SPORTS ENTERPRISES CO.,
  d/b/a FOX SPORTS LATIN AMERICA
  (individually and as successor to FOX PAN
  AMERICAN SPORTS LLC), FOX
  INTERNATIONAL CHANNELS (US), INC.,
  FOX NETWORKS GROUP, INC. (as
  successor to FOX INTERNATIONAL
  CHANNELS (US), INC.), CARLOS
  MARTINEZ, HERNAN LOPEZ, JAMES
  GANLEY, T&T SPORTS MARKETING
  LTD., TORNEOS Y COMPETENCIAS, S.A.,
  ALEJANDRO BURZACO, FULL PLAY
  GROUP S.A., CONFEDERACION
  SUDAMERICANA DE FUTBOL, d/b/a
  CONMEBOL, EUGENIO FIGUEREDO, and
  JUAN ANGEL NAPOUT,

                               Defendants.



                                  NOTICE OF APPEARANCE

         The undersigned, Jeffrey B. Goldberg of the law firm Hughes Hubbard & Reed LLP,

  hereby appears as counsel for JUAN ÁNGEL NAPOUT, and requests that copies of all future

  pleadings, briefs, motions, orders, correspondence, and other papers be served upon him.
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  Dated: May 14, 2018

                                                   HUGHES HUBBARD & REED LLP
                                                   201 South Biscayne Boulevard
                                                   Suite 2500
                                                   Miami, Florida 33131-4332
                                                   Telephone: (305) 358-1666
                                                   Facsimile: (305) 371-8759
                                                   By: /s/Jeffrey B. Goldberg
                                                   Jeffrey B. Goldberg
                                                   Florida Bar No. 118689
                                                   jeffrey.goldberg@hugheshubbard.com


                                                   Attorneys for Defendant Juan Ángel Napout

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 14th day of May, 2018, I electronically filed the

  foregoing document with the Clerk of Court by using the CM/ECF system. I further certify that

  the foregoing is being served this day upon all counsel of record.

                                                    /s/ Jeffrey B. Goldberg
                                                    Jeffrey B. Goldberg
